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                          UNITED STATES COURT OF APPEALS
                             FOR THE ELEVENTH CIRCUIT
                             ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                           56 Forsyth Street, N.W.
                                           Atlanta, Georgia 30303

David J. Smith                                                                      For rules and forms visit
Clerk of Court                                                                      www.ca11.uscourts.gov


                                           July 21, 2023

MEMORANDUM TO COUNSEL OR PARTIES

Appeal Number: 21-12314-U
Case Style: National Rifle Association, et al v. Commissioner, Florida Dept. of Law
Enforcement
District Court Docket No: 4:18-cv-00137-MW-MAF

For purpose of the upcoming en banc rehearing in the above referenced case, the court desires
for counsel to focus their briefs on the following issue:

                 “Is the statute unconstitutional under the Second and
                  Fourteenth Amendments to the Constitution?”

The Appellants’ en banc brief is due forty (40) days after the Supreme Court issues an opinion
in United States v. Rahimi, No. 22-915. The Appellee’s en banc brief is due 30 days after the
filing of the appellant’s brief. The Appellants may file a reply brief within 21 days of the filing
Appellee’s brief. NO EXTENSIONS WILL BE GRANTED. Please see FRAP 28 and 32
and the corresponding circuit rules for information on the form of the briefs. Fifteen (15) copies
of the en banc briefs shall be filed. Counsel is not required to submit the additional copies of
the previous filed briefs.

The filing of an en banc amicus brief is governed by 11thCir.R.35-8.

Oral argument will be set by a separate order.

Clerk's Office Phone Numbers
General Information: 404-335-6100           Attorney Admissions:         404-335-6122
Case Administration: 404-335-6135           Capital Cases:               404-335-6200
CM/ECF Help Desk: 404-335-6125              Cases Set for Oral Argument: 404-335-6141


                                                           BR-1CIV Civil appeal briefing ntc issued
